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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,                )
SMARTMATIC HOLDING B.V., AND         )
SGO CORPORATION LIMITED,             )
                                     )
               Plaintiffs,           )
                                         Civil Action No. 1:21-cv-02900-CJN
     v.                              )
                                     )
HERRING NETWORKS, INC., D/B/A        )
ONE AMERICA NEWS NETWORK,            )
                                     )
               Defendant.            )

          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              DEFENDANT’S OPPOSED MOTION FOR RECUSAL
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             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                 DEFENDANT’S OPPOSED MOTION FOR RECUSAL

                                     I.     INTRODUCTION

          Herring Networks, Inc. (“Defendant” or “OAN”) moves under 28 U.S.C. § 455 to recuse

Magistrate Judge Upadhyaya because of her 2019 representation of the Bolivarian Republic of

Venezuela on authority of Venezuelan President Nicolás Maduro’s (“Maduro”) regime while in

private practice with Venable, LLP.1 This representation intersects with Plaintiffs’ (“Smartmatic”

or “Plaintiffs”) many allegations and discovery requests about Maduro, who they characterize as

the “corrupt dictator.”2 They further allege that OAN had information available to it “that showed

its statements about Smartmatic being controlled by corrupt dictators (Maduro and Chavez) was

(sic) false.”3

          Maduro or “dictator” is mentioned 154 times in the Complaint and attached exhibits.

Plaintiffs’ requested discovery search terms contain the word “Maduro” 40 times, and there is a

standalone search term for just “Maduro.”4 One of OAN’s allegedly defamatory broadcasts

reported on a resolution of the Organization of American States (“OAS”) “that the international

community must not recognize Venezuelan elections, adding the Maduro regime will manipulate

the outcome of the vote.”5 It then quoted Rudy Giuliani: “Smartmatic, which is the ultimate



1
  Venable also represented Venezuela in other matters while Judge Upadhyaya was a partner
although there is no indication that she was personally involved. In filing this motion, we in no
way intend to impugn the integrity of Judge Upadhyaya or Venable or their commitment to
fairness.
2
    Complaint, Dkt. 1 at pp. 3, 153. All page references are to the ECF page number.
3
    Id. at 153.
4
    Ex. 1, C. Butzer Decl. at 2.
5
    Complaint, Dkt. 1-33, at 3.



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software . . . originates, your know, with Venezuela, a dictatorship . . . .”6 On January 10, 2019,

OAS issued a resolution that similarly encouraged the international community “to not recognize

the legitimacy of Nicolas Maduro’s new term as of the 10th of January 2019” following the 2018

election and called for “new Presidential elections” because of “an illegitimate electoral process.”7

          A few weeks later, on February 22, 2019, Judge Upadhyaya took the opposite position for

her client, telling the U.S. Court of Appeals for the District of Columbia Circuit that: “President

Maduro vigorously disputes that Mr. Guaido is the President of the Republic and asserts that he

remains the rightful leader of the Republic.”8 The brief went on to note that “nor is Mr. Guaido’s

place as the legitimate leader of Venezuela assured. In fact, as a matter of Venezuelan law, there

are serious issues with Mr. Guaido’s ‘claim [which] derives from a certain creative interpretation

of a constitutional provision rather than from popular will or the due process of law.’” (quoting

the New York Times).9 Maduro ultimately retained power despite the widely held belief that his

election was the result of fraud. As we shall see, there is substantial evidence that Smartmatic was

involved in that fraudulent election.

          Indeed, Venezuelan election fraud and Smartmatic’s role in those elections are issues in

this case, and there is already specific discovery disputes over this matter which, absent recusal,

Judge Upadhyaya will be called upon to decide. While Smartmatic contends that “the 2018


6
    Id. at 53, ¶ 119.
7
 Ex. 2, Press Release, OAS, OAS Permanent Council Agrees “to Not Recognize the Legitimacy
of Nicolas Maduro’s New Term,” https://www.oas.org/en/media_center/press_release.asp
?sCodigo=E-001/19 (Jan. 10, 2019).
8
 Ex. 3, Response to Motion for Stay, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,
No. 18-7044 at 2 (D.C. Cir. Feb. 22, 2019).
9
 Id. at 5 (quoting Ex. 4, Max Fisher, Who Is Venezuela’s Legitimate President? A Messy Dispute,
Explained, N.Y. Times (Feb. 4, 2019)).



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Venezuelan presidential election, which in no way overlaps, either factually or temporally, with

Smartmatic’s prior activity in Venezuela,”10 we believe discovery will show—and has already

shown—this statement to be mistaken.

                                       ,11 Smartmatic machines were used in the 2018 election,12 and



                                                 .13 This occurred even after the Plaintiffs themselves

claimed a 2017 election was tainted with fraud, and by 1,000,000 votes no less.

          In short, contrary to Plaintiffs’ position,14 the 2018 election in Venezuela (and others),

where the “corrupt dictator,” on whose behalf the Magistrate Judge advocated, is directly relevant

to the issues of truth or falsity, causation, and damages in this public figure defamation suit. While

we have no doubt that Judge Upadhyaya could be and likely would be fair, that is not the standard

under Section 455, which requires recusal under these facts.

                                II.       PROCEEDINGS TO DATE

          In the Joint Notice pending before this Court after referral from Judge Nichols on May 31,

2023, OAN identifies several issues that directly relate to requested discovery involving foreign




10
     Dkt. 77, at 2 (emphasis added).
11
     See Ex. 5, SMMT-OAN00055012 at 47; Ex. 6, SMMT-OAN00057054 at 46.
12
   Fire Destroys Most Voting Machines in Venezuela’s Main Elections Warehouse, Reuters,
https://www.reuters.com/article/us-venezuela-politics/fire-destroys-most-voting-machines-in-
venezuelas-main-elections-warehouse-idUSKBN20V15O (March 8, 2020); Ex. 12, Maduro
Burned      Electoral  Machines      to   Perpetuate       Himself:   ABC,     PANAM       Post,
https://es.panampost.com/delia-perez/2020/03/12/maduro-maquinas-electorales/ (March 12,
2020).
13
     Ex. 7, SMMT-OAN00054431.
14
     Dkt. 77, at 2.



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elections in which Smartmatic software or equipment was used—including numerous Venezuelan

elections spanning almost two decades and the Maduro re-election in 2018—and as a result,

Smartmatic’s reputation and alleged damages.15 Upon learning of the recusal issues addressed by

this motion, Defendant’s counsel promptly contacted Smartmatic’s counsel and discussed the

matter and then sent a private letter to her Honor on June 5, 2023 after first showing the

correspondence to Plaintiffs’ counsel for his input.16 Judge Upadhyaya gave Plaintiffs an

opportunity to respond and ordered the parties to appear for a hearing on July 18, 2023.17

Smartmatic timely responded to OAN’s letter on June 30, 2023 with their positional statement.18

          While the request for recusal was previously made by private letter, to ensure a complete

record, OAN submits this formal motion which discusses the significant historical events,

allegations in the Complaint, and ongoing discovery disputes, none of which lend themselves to

developing a full record on limited correspondence. The Court should have a full opportunity to

consider all the materials supporting recusal.

                                       III.   BACKGROUND

          A.      Plaintiffs’ Claims

                  (1)    Smartmatic’s Complaint

          Smartmatic has put its role in the Venezuelan elections, including Maduro’s, at issue in

this litigation. Plaintiffs claim they were defamed by OAN.19 Their lengthy complaint accuses


15
     Ex. 8, Joint Notice at 10–15.
16
     Ex. 9, Letter to Judge Upadhyaya; see also June 26, 2023 Order, Dkt. No. 75, Attachment A.
17
     June 26, 2023 Order, Dkt. 75.
18
     Positional Statement, Dkt. 77.
19
  “Smartmatic” refers to Plaintiffs Smartmatic USA Corp., Smartmatic Holding B.V., and SGO
Corporation Limited.



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OAN of spreading “disinformation” themes, including that: (i) “Smartmatic is a Venezuelan

company that was founded and funded by corrupt dictators from socialist and communist

countries” and (ii) “Smartmatic’s election technology and software were designed to rig and fix

elections and have been used to fix, rig and steal elections before.”20 As to Venezuela, Smartmatic

specifically alleges that OAN falsely claimed that: (i) “Smartmatic is partially owned by the

Maduro regime”; (ii) “the technology is controlled by allies of Venezuela’s Maduro regime”;

(iii) “reports found Maduro allies were meddling in the latest U.S. election through a company

called Smartmatic”; (iv) “The [Organization of American States] says any election that involves

Maduro is a sham and must not be recognized by any civilized country”; and (v) “Smartmatic has

faced controversy in the past with allegations of rigging the 2013 election in Venezuela to favor

socialist President Nicolas Maduro.”21 Smartmatic also claims that OAN aired broadcasts that

referenced its connections to Venezuela, prior election irregularities, and the Maduro regime.22

The Complaint along with attached exhibits contain 154 references to Maduro by name or

“dictators” (Chavez and Maduro).23

                     (2)   Smartmatic’s Positional Statement

          Smartmatic concedes the relevancy of these issues by asserting in its Positional Statement

that it intends to prove several alleged “facts” concerning its relationship to Maduro:


20
     Complaint, Dkt. 1, at ¶ 107.
21
     Id. at ¶ 218.
22
     See, e.g., id. at ¶¶ 95-98, 101-03, 106-08, 119-21, 131-32, 171, 184, 196, 218, 227.
23
  Id. at ¶¶ 97, 101, 102, 105, 119, 120, 131, 184(k), 184(r), 196(g), 196(k), 218(c), 218(f), 218(g),
218(h), 218(j), 218(m), 218(o), 218(x), 218(y), 227,(t), 227(u) (“Maduro”); id. at ¶¶ 98, 108, 122,
125, 126, 132, 170, 171(d), 171(o), 171(s), 180, 218, 218(p), 218(s), 220, 221, 227(n), 227(p), 248,
336, 344, 357 (“Dictators”); id. at Exs. 3, 5, 9, 11, 14, 19, 20, 22, 25, 29, 30, 39, 44, 46, 47, 48, 57,
86, and 138 (“Maduro” or “Dictators”).



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                  To be sure, Smartmatic will prove that OAN’s statements about
                  Smartmatic having a relationship with Maduro were factually
                  inaccurate. Smartmatic is not owned by the Maduro regime. Its
                  technology is not controlled by allies of the Maduro regime. Maduro
                  allies did not meddle in the 2020 U.S. election through Smartmatic.
                  Smartmatic did not rig the 2013 election in Venezuela for Maduro.24

Smartmatic has also inaccurately claimed that it “was not involved in the 2018 election in any

capacity.”25 Documents already produced by Plaintiffs show this to be a misstatement, and OAN

continues to pursue discovery to challenge these and other of Smartmatic’s assertions.

           B.     Smartmatic and OAN’s Discovery Requests

           It is no surprise, then, that these themes and challenged statements are the subject of

discovery requests from both sides which, absent recusal, would likely be brought before Judge

Upadhyaya. Smartmatic itself has sought evidence of deleted, lost, changed, or compromised votes

not just for the 2020 Presidential election, but also for “any other election” (RFP No. 38), and

documents that support, establish, and demonstrate that the complained of statements are

substantially true, accurate, and not misleading (RFP No. 52).26 Smartmatic has demanded that

OAN conduct 40 search term queries of its documents with terms related to “Maduro” and

“Venezuela,” one of which is just “Maduro.”27

           Likewise, OAN has sought discovery into Smartmatic’s connections to Venezuela, the

Maduro regime, and prior elections. OAN has specifically asked for communications concerning




24
     Positional Statement, Dkt. 77, at 3.
25
     Id. at 2.
26
     Ex. 1, C. Butzer Decl. at 1.
27
     Id. at 2.



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“Nicolás Maduro or anyone working for him.” 28 OAN has also propounded several other requests

concerning Smartmatic’s involvement in Venezuelan elections.29 Already, the parties have reached

an impasse over OAN’s discovery request into these issues.

          In the Joint Notice pending before this Court after referral from Judge Nichols on May

31, 2023, OAN identifies several issues that directly relate to requested discovery involving

foreign elections in which Smartmatic software or equipment was used.

          C.      Smartmatic’s Connection to the Maduro Regime

          Documents already produced show that despite its protestations, Smartmatic was involved,

directly or indirectly, in the disputed 2018 Presidential election that saw Maduro retain power. The

Complaint (and attached exhibits) contain multiple references to Venezuela and Maduro, placing

in question the legitimacy of Venezuelan elections using equipment from Smartmatic. While

Plaintiffs claim that they had nothing to do with the 2018 election of Maduro or any subsequent

elections after admitted fraud in tabulation of votes during the 2017 elections, Plaintiffs’

documents and public reporting belies this claim.

          The July 2017 election in Venezuela—where Maduro sought to install an all-powerful

legislative body called the “Constituent Assembly” to re-write the Venezuelan constitution and

assume powers superior to all other branches of government30—was acknowledged by Smartmatic




28
     Id. (citing OAN’s Requests for Production to Plaintiffs, No. 380).
29
     Id. (citing OAN’s Requests for Production to Plaintiffs, Nos. 18, 26–28, 37, 40, 80).
30
    New Venezuela Assembly Declares Itself Superior Government Branch, Chi. Trib.,
https://www.chicagotribune.com/nation-world/ct-venezuela-political-assembly-20170808-
story.html (Aug. 8, 2017).



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itself (whose machines were used in the election) to have been fraudulent.31 The CEO of

Smartmatic, Antonio Mugica, admitted that the results “for the constituent assembly in Venezuela

were tampered with” and vote totals were inflated by at least 1 million out of nearly 8.1 million

votes.32

            In response, Venezuela’s election chief Tibisay Lucena pointed the finger at Smartmatic:

“Smartmatic is part of the safeguard of the tabulation process” and any alleged error in the election

results was because of Smartmatic’s machines and the failure to safeguard the results.33 The result

of this fraudulent election—using Smartmatic machines—was that Maduro’s Constituent

Assembly was established. Less than a year later, Maduro’s Constituent Assembly called a “snap

presidential election in May 2018 ahead of the regularly scheduled vote in December” of 2018.34

            Although Smartmatic asserts that it “ceased doing business in Venezuela following the

2017 National Constituent Assembly” election,35 Smartmatic notably does not assert that its

machines or software were no longer used in subsequent elections in Venezuela, including in the

2018 re-election of Maduro. This is because Smartmatic’s voting equipment continued to be used


31
  Press Release, Smartmatic Statement on the Recent Constituent Assembly Election in
Venezuela, Smartmatic, https://www.smartmatic.com/us/media/article/smartmatic-statement-on-
the-recent-constituent-assembly-election-in-venezuela/ (Aug. 2, 2017).
32
    Venezuela Election Results Were Manipulated, Voting Company Says, Mia. Herald,
https://www.miamiherald.com/news/nation-world/world/americas/venezuela/article
164968042.html (Aug. 2, 2017) (and included video); see also Ex. 10, Frente Patriótico denuncia
“topes” en votación de diciembre, El Nacional (27 January 2007), A-2 (describing vote distribution
irregularities caused by numerical “caps” where Smartmatic machines were used in other
Venezuelan elections).
33
     Id.
34
    Venezuela Is Proof that Elections Have Consequences, Int’l Republican Inst.,
https://www.iri.org/news/venezuela-is-proof-that-elections-have-consequences/ (Jan. 28, 2019).
35
     Position Statement, Dkt. 77 at 2.



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in the 2018 Venezuelan Presidential election involving Maduro.36 And Smartmatic was heavily

involved as its produced discovery to date indicates.




            .37



                                                        38
                                                             Documents produced by Smartmatic show




                                                                .39 Ex-Clé purchased additional voting



36
   Opinion: Venezuela’s Insecure Elections Have Caused Political Uproar, Detroit News,
https://www.detroitnews.com/story/opinion/2019/06/25/opinion-venezuelas-insecure-elections-
have-caused-political-uproar/1547924001/ (June 24, 2019); Fire Destroys Most Voting Machines
in Venezuela’s Main Elections Warehouse, Reuters, https://www.reuters.com/article/us-
venezuela-politics/fire-destroys-most-voting-machines-in-venezuelas-main-elections-warehouse-
idUSKBN20V15O (Mar. 8, 2020) (detailing that a fire destroyed Smartmatic voting machines,
which were needed for upcoming elections).
37
     Ex. 11, SMMT-OAN1937144.
38
     Id.;




39
     Ex. 11, SMMT-OAN1937144-45.




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machines from foreign vendors and took over the machines supplied and infrastructure created by

Smartmatic.40 Smartmatic’s machines used in the 2018 election were later destroyed in a

suspicious fire at a Venezuelan warehouse in March 2020, 41 which

            .42

         Nor does Smartmatic point out that

                                                                        .43 Indeed,




40
   The U.S. Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) sanctioned
Ex-Clé for materially supporting the illegitimate Maduro regime and providing goods and services
to that regime to carry out a fraudulent election in December 6, 2020. Press Release, Treasury
Continues Pressure on Maduro Regime for Role in Fraudulent Elections, U.S. Dep’t of Treasury,
https://home.treasury.gov/news/press-releases/sm1215 (Dec. 18, 2020); Ex. 12, Maduro Burned
Electoral Machines to Perpetuate Himself: ABC, PANAM Post, https://es.panampost.com/delia-
perez/2020/03/12/maduro-maquinas-electorales/ (March 12, 2020).
41
   Fire Destroys Most Voting Machines in Venezuela’s Main Elections Warehouse, Reuters,
https://www.reuters.com/article/us-venezuela-politics/fire-destroys-most-voting-machines-in-
venezuelas-main-elections-warehouse-idUSKBN20V15O (March 8, 2020); Ex. 12, Maduro
Burned      Electoral  Machines      to   Perpetuate       Himself:   ABC,     PANAM       Post,
https://es.panampost.com/delia-perez/2020/03/12/maduro-maquinas-electorales/ (March 12,
2020).
42
     Ex. 13, SMMT-OAN01229288–91.
43
     See Ex. 5, SMMT-OAN00055012 at 47

                                                           Ex. 6, SMMT-OAN00057054 at 46


                  Ex. 14, SMMT-OAN00054907




                                              10
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                 .44 Moreover,

                                                           .45

         In short, there have been long-standing reports of fraud and vote irregularities involving

Smartmatic machines used in Venezuela, benefitting both Maduro and his predecessor Hugo

Chávez.

         D.     Judge Upadhyaya’s Representation of Maduro Implicates Issues in this
                Litigation

         These issues implicate Judge Upadhyaya’s former client and her representation of

Maduro’s regime in 2019. While in private practice, Judge Upadhyaya litigated similar issues in

Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044 (D.C. Cir. 2021)

(“Rusoro”). The legitimacy of the 2018 Venezuelan presidential election, where—in Plaintiffs’

words—the “corrupt dictator” and incumbent Maduro was declared the winner, became an issue

in that case after Judge Upadhyaya and her former law firm appeared on behalf of the Maduro

regime.

         While the underlying case46 was on appeal to the D.C. Circuit, the firm of Arnold &

Porter—as counsel for the Bolivarian Republic of Venezuela on instructions from the U.S.-

recognized representative of the Republic, Interim President Juan Guaidó—filed a Motion for



44
     Ex. 6, SMMT-OAN00057054 at 46

45
     Ex. 15, SMMT-OAN00054798–99



46
  The underlying controversy was the confirmation of an arbitration award to Rusoro Mining Ltd.
for the expropriation of its assets. Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, 300 F.
Supp. 3d 137, 141 (D.D.C. 2018); Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No.
18-7044 (D.C. Cir. 2021).



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Stay,47 which was granted two days later.48 Eight days after the stay was granted, Judge Upadhyaya

filed an appearance as lead counsel, also purportedly for the Bolivarian Republic of Venezuela,

for the Maduro regime.49

       That same day, Judge Upadhyaya filed a response to Arnold & Porter’s Motion for Stay,

asserting that the purpose of the filing was “not to oppose the [already-granted] request for a

stay . . . [but] to formally object to some of the positions that Arnold & Porter has taken on behalf

of the Republic.”50 The positions Judge Upadhyaya objected to include who was the rightful leader

of Venezuela.

       Arnold & Porter then filed a Motion to Strike both the notice of appearance and the

“response.” Noting Judge Upadhyaya’s acknowledgement she had “not been engaged by President

Guaidó,” Arnold & Porter cautioned that the D.C. Circuit “should not recognize [Judge

Upadhyaya’s] firm as counsel for the Republic.”51 Moreover, Arnold & Porter highlighted that

these “arguments about Venezuelan constitutional law and counter-arguments concerning election

fraud” were simply not relevant to the dispute and “demonstrate[d] the Maduro regime’s intent to

use this Court as a forum in which to express its views on the Executive Branch’s foreign policy



47
  Ex. 16, Motion for Stay, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044
(D.C. Cir. Feb. 12, 2019).
48
  Ex. 17, Order, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044 (D.C. Cir.
Feb. 14, 2019).
49
  Ex. 18, Entry of Appearance, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-
7044 (D.C. Cir. Feb. 22, 2019).
50
 Ex. 3, Response to Motion for Stay, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,
No. 18-7044 at 1 (D.C. Cir. Feb. 22, 2019).
51
   Ex. 19, Motion to Strike, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044
at 2 (D.C. Cir. Feb. 28, 2019).



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determinations.”52 The motion, however, was never ruled on because eleven days later, Judge

Upadhyaya withdrew her appearance as purported counsel for Venezuela, along with those of her

law firm.53

          Judge Upadhyaya’s prior representation intersects with the relevant time period for

discovery and, most importantly, takes a position that itself is in contention in this very litigation.

Smartmatic’s attempts to distance itself from Maduro’s claimed victory in the 2018 election, where

its machines were in use, are central to these issues, and directly implicate Judge Upadhyaya’s

representation of Maduro.

          E.         Judge Upadhyaya’s Law Firm’s Representation of Companies Connected to
                     Maduro’s Regime Also Implicates Issues in this Litigation

          While Judge Upadhyaya was a partner at Venable LLP, then-colleague and partner Ed

Wilson participated in litigation in support of companies owned by a high-level contributor to

“endemic corruption” in the Maduro regime (and the Hugo Chavez regime before it)—Raul Gorrin

Belisario.54 Wilson petitioned for and received a license from the Office of Foreign Assets Control

to engage with the sanctioned Venezuelan mogul and Maduro affiliate and his properties for




52
     Id. at 10–11.
53
  Ex. 20, Withdrawal of Appearance, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,
No. 18-7044 (D.C. Cir. Mar. 11, 2019).
54
   See Ex. 21, Noticed Entities Memorandum in Opposition to [DE#3] Judgment Creditor’s Ex
Parte Expedited Motion to Commence Proceedings Supplementary, Etc. & Decl. of Edward
Wilson, Casa Express Corp. v. Bolivarian Republic of Venezuela, No. 1-21-mc-23103, at 1–2, 35–
40 (S.D. Fla. Nov. 4, 2021); Ex. 22, Respondents’ Affidavit in Response to [DE 63–71, 76] Notices
to Appear and Memorandum in Opposition to [DE 60] Judgment Creditor’s Expedited Motion to
Commence Proceedings Supplementary, Etc. & Decl. of D.E. Wilson, Jr. in Response to [DE 63–
71] Notices to Appear, Casa Express Corp. v. Bolivarian Republic of Venezuela, No. 1-21-mc-
23103, at 19–21 (S.D. Fla. Jan. 20, 2023).



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representation in litigation.55 The litigation sought to transfer some of these alleged ill-gotten

properties after years of alleged “illicit and corrupt schemes” by “officials and insiders of the Hugo

Chavez and Nicolas Maduro regimes,” including Gorrin.56 But the companies who owned the

properties—supported by declarations from Wilson—took the position that the court was without

authority to transfer any of Gorrin’s alleged ill-gotten properties, because “the only party with

legal authority to transfer any of the properties is Ed Wilson of the Venable firm.”57

                                        IV.     ARGUMENT

          Recusal is required for three independent reasons. Federal law mandates judicial recusal:

(1) in “any proceeding in which [the judge’s] impartiality might reasonably be questioned”;

(2) “where in private practice [s]he served as [a] lawyer in the matter in controversy”; and

(3) where the magistrate has “personal knowledge of disputed evidentiary facts.” 28 U.S.C.

§ 455(a), (b)(1)–(2).

          The purpose of this statute is to “avoid[] even the appearance of impropriety,” Liljeberg v.

Health Servs. Acquisition Corp., 486 U.S. 847, 865 (1988), and in doing so “preserve the public’s

faith in the judicial process.” Brokaw v. Mercer Cnty., 235 F.3d 1000, 1025 (7th Cir. 2000); see

also Liteky v. United States, 510 U.S. 540, 548 (1994) (“what matters is not the reality of bias or

prejudice but its appearance.”); Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 889 (2009)



55
     Ex. 21 at 37.
56
   Ex. 23, Judgment Creditor’s Ex Parte Expedited Motion to Commence Proceedings
Supplementary, to Implead Defendants, and for Issuance of Statutory Notices to Appear, Casa
Express Corp. v. Bolivarian Republic of Venezuela, No. 1-21-mc-23103, at 1–2, 4 (S.D. Fla. Sept.
10, 2021).
57
  Ex. 24, Respondents’ Reply in Support of [D.E. 128] Motion to Dismiss for Lack of Service or
Personal Jurisdiction or Alternatively Motion to Quash Service, Casa Express Corp. v. Bolivarian
Republic of Venezuela, No. 1-21-mc-23103, at 8–10 (S.D. Fla. Mar. 1, 2023).



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(explaining that judicial codes of conduct and recusal requirements are critical in “maintain[ing]

the integrity of the judiciary and the rule of law”); CODE OF CONDUCT FOR U.S. JUDGES, Canon 2A

(2019) (“A judge . . . should act at all times in a manner that promotes public confidence in the

integrity and impartiality of the judiciary.”); MODEL CODE OF JUDICIAL CONDUCT r. 1.2 (AM. BAR

ASS’N 2020) (“A judge shall act at all times in a manner that promotes public confidence in the

independence, integrity, and impartiality of the judiciary, and shall avoid impropriety and the

appearance of impropriety.”).

          In evaluating whether a judge’s impartiality might reasonably be questioned, the inquiry is

from the perspective of a “reasonable and informed observer.” S.E.C. v. Loving Spirit Found. Inc.,

392 F.3d 486, 493 (D.C. Cir. 2004) (quoting U.S. v. Microsoft Corp., 253 F.3d 34, 114 (D.C. Cir.

2001) (en banc) (per curiam)). Recusal is not limited to cases where a “judge’s conflict [is] with

the parties named in the suit.” Preston v. United States, 923 F.2d 731, 735 (9th Cir. 1991).

          A.     Recusal Is Required Because Judge Upadhyaya’s Impartiality Might
                 Reasonably be Questioned

          Recusal is mandatory when a judge’s “impartiality might reasonably be questioned.” 28

U.S.C. § 455(a). The repeated mention of Maduro in the statements Smartmatic challenges in its

Complaint should be dispositive of this question in light of Judge Upadhyaya’s prior

representation.58 In order to demonstrate the literal or substantial truth of its reporting, OAN has

served multiple discovery requests concerning Venezuelan election irregularities and Maduro,




58
     See, e.g., Complaint, Dkt. 1 ¶ 218.



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which Plaintiffs are resisting. OAN has specifically asked for communications concerning

“Nicolás Maduro or anyone working for him.”59

          Although OAN has no reason to believe that Judge Upadhyaya’s is actually biased against

it (or Plaintiffs), the appearance of impartiality—from the perspective of a reasonable and

informed observer—is threatened by Judge Upadhyaya’s former representation of Maduro’s

regime. “[W]hat matters is not the reality of bias or prejudice but its appearance.” Liteky v. U.S.,

510 U.S. 540, 548 (1994) (emphasis added). The claims and defenses in this matter involve issues

of causation of damages and the material falsity, truth or substantial truth of OAN’s statements

concerning election irregularities in Venezuela and the Plaintiffs’ connections thereto.60 Judge

Upadhyaya’s prior representation involved Maduro’s attempts to use the U.S. court system to

continue to claim the title of—and seek international recognition as—Venezuela’s president, in

spite of claims of election irregularity.61 A reasonable and informed observer, aware of this history,

may perceive the Court’s rulings in this case as favoring Judge Upadhyaya’s former client,

Maduro, or as being partial against OAN, which criticized Maduro’s power grabs and questioned

the voting technology that allowed votes to be manipulated in Venezuela, or Plaintiffs who claim

that all but the 2017 election were fair and honest, but then sought to publically distance themselves

from Maduro and Venezuela.62



59
  Ex. 1, C. Butzer Decl. at 2 (citing OAN’s Requests for Production to Plaintiffs, No. 380); see
also id. (citing OAN’s Requests for Production to Plaintiffs, Nos. 18, 26–28, 37, 40, 80 which
request Plaintiffs to produce information related to their involvement in Venezuelan elections).
60
     See Complaint, Dkt. 1 ¶ 218.
61
   Ex. 19, Motion to Strike, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044
at 10–11 (D.C. Cir. Feb. 28, 2019).
62
     See Complaint, Dkt. 1 ¶ 218.



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         Moreover, the Parties may seek additional discovery from Maduro or his officials regarding

the claims in this litigation. In that event, Maduro could again turn to Venable LLP, which it has

used in the past. See Preston v. U.S., 923 F.2d 731, 734–35 (9th Cir. 1991) (recusal required when

judge’s former law firm represented a third party during the discovery period, including in

objecting to a subpoena). And based on positions taken by Plaintiffs in resisting discovery, this

Court will be required to rule on pending discovery disputes in the Joint Notice on these issues and

likely will face similar discovery disputes about Maduro or his regime in the future.

         Additionally, Venable LLP’s representation of high-level Maduro affiliates who engaged

in “endemic corruption”—concurrent with the Judge’s partnership at the firm—further create the

appearance of impropriety. To avoid the appearance of impropriety, courts have imputed the

confidential knowledge obtained by one lawyer in the firm to other lawyers in the same firm for

the purpose of disqualification. E.g., Schloetter v. Railoc of Ind., Inc., 546 F.2d 706, 710 (7th Cir.

1976).

         The need to preserve public confidence in the judiciary requires that “no lesser standard

can be applied in ruling on judicial disqualification.” Hampton v. Hanrahan, 499 F. Supp. 640,

645 (N.D. Ill. 1980). The Judge’s former firm represented companies of Raul Gorrin Belisario—

who was allegedly involved in “endemic corruption” at the highest levels of the Venezuelan

government—in his attempts to avoid losing property acquired through allegedly illegal schemes

with the Venezuelan government. Judge Upadhyaya’s then-colleague and partner, Ed Wilson,

assuredly learned confidential client information from Gorrin during these representations, likely

including information about the corruption and legitimacy of the Maduro regime. OAN’s defenses

involve these same issues: the legitimacy and corruption of the Maduro regime and the elections

in which he obtained and held power. Even if Judge Upadhyaya does not possess confidential




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information about these matters, Venable’s concurrent representation of Gorrin companies—and

the confidential information likely gained by Venable attorneys during that representation about

matters relevant here—creates the appearance of impropriety. See id. (noting that even though the

judge did not have personal knowledge of the matters in dispute, his firm’s representation on

contested matters created the appearance of impropriety).

                                          *       *       *

       These facts from both Judge Upadhyaya’s representation of Maduro and Venable LLP’s

representation of Gorrin companies will create the appearance of partiality if she fails to recuse.

This is exactly the kind of appearance of bias that recusal is designed to prevent. Recusal is

required to preserve the appearance of the Court’s impartiality in this dispute. 28 U.S.C. § 455(a).

       B.      Recusal is Required Because Judge Upadhyaya Served as a Lawyer Regarding
               Issues in Controversy While in Private Practice

       For similar reasons as above, Judge Upadhyaya’s former representation of the Maduro

regime regarding similar issues in controversy disqualifies her from continuing to preside over this

matter. Recusal is mandatory when a judge has “served as [a] lawyer in the issues in controversy”

while in private practice. 28 U.S.C. § 455(b)(2). This rule applies even when the judge’s former

firm—not the judge herself—served as a lawyer in the issues in controversy. See, e.g., In re

Rodgers, 537 F.2d 1196, 1198 (4th Cir. 1976) (recusal required when judge’s former law partner

represented a likely defense witness in the case and the law partner might also be called as a witness

related to that representation).

       As lead counsel representing Maduro’s regime, Judge Upadhyaya represented Maduro in

a “response” to a motion that had already been granted for no other purpose than asserting

Maduro’s position that he was “the rightful leader of the Republic” in the aftermath of the 2018




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elections.63 Her former representation of Maduro is thus inextricably connected to OAN’s

challenged broadcasts that concern the illegitimacy of the Maduro regime and reports of election

irregularity in Venezuela.64

          It is likely that Judge Upadhyaya, while in private practice, had privileged conversations

with Maduro or members of his regime concerning these issues; otherwise, she would not,

consistent with the federal rules, have in good faith made the allegations. She, therefore, should

not impartially preside over a dispute raising these same issues. Judge Upadhyaya’s former

representation of Maduro on issues related to his legitimacy as president after the disputed 2018

election using Smartmatic machines is the kind of conflict that federal law requires judges to avoid.

Recusal is required for this independent basis.

          C.     Recusal is Required if the Magistrate Judge has Personal Knowledge of
                 Disputed Evidentiary Facts Concerning the Proceeding

          Finally, recusal is mandatory when a judge has “personal knowledge of disputed

evidentiary facts concerning the proceeding” at issue. 28 U.S.C. § 455(b)(1).

          Judge Upadhyaya likely has personal knowledge of disputed facts at issue in this litigation

based upon her representations made when she was Maduro regime’s attorney. One can’t help but

wonder what pleadings Plaintiffs are therefore reading in Rusoro when they assert that

“accusations of ‘election fraud’ . . . does not appear relevant” to Judge Upadhyaya’s “involvement

in Rusoro.”65 Not only does Judge Upadhyaya’s Response in Rusoro make assertions about the

electoral legitimacy of Guaidó and Maduro, but the New York Times article she cites explicitly


63
 Ex. 3, Response to Motion for Stay, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,
No. 18-7044 at 1–2 (D.C. Cir. Feb. 22, 2019).
64
     E.g., Complaint, Dkt. 1 ¶ 218.
65
     Positional Statement, Dkt. 77 at 3.



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discusses election fraud, stating that the “weakest point in Mr. Maduro’s popular legitimacy may

be his 2018 re-election victory, which was widely disputed amid fraud allegations.”66 The article

goes on to say, “whether or not allegations of a rigged election render Mr. Maduro illegitimate is

not ultimately up to election monitors.”67 It is undeniable that allegations of election fraud were

central to Judge Upadhyaya’s representation of Maduro.

            Smartmatic, therefore, cannot argue with any credibility that this case only involves OAN’s

claims regarding Smartmatic’s work in the 2020 Election in the United States or that the 2018

Venezuelan election “is not relevant to Smartmatic’s claims.”68 This is inconsistent with

Smartmatic’s own Complaint, which challenges OAN’s broadcasts that expressly discuss

Smartmatic’s work in Venezuela in the 2018 election. Judge Upadhyaya’s personal knowledge

regarding the disputed evidentiary facts—including Venezuela’s elections, their legitimacy, or the

technology used—is another independent basis requiring recusal.

                                         V.     CONCLUSION

            OAN does not question Judge Upadhyaya’s integrity or commitment to impartially ruling

on matters brought before her. But with three other capable magistrate judges available to serve in

the role envisioned by Judge Nichols, we believe the public interest would be best served with her

recusal in this case. We therefore respectfully request recusal and such other relief as to which the

Defendant is justly entitled.




66
  Ex. 4, Max Fisher, Who Is Venezuela’s Legitimate President? A Messy Dispute, Explained, N.Y.
Times, Feb. 4, 2019.
67
     Id.
68
     Positional Statement, Dkt. 77, at 2.



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Dated: July 6, 2023.                       By: /s/ Charles L. Babcock

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                                  CERTIFICATE OF SERVICE
       I hereby certify that on this 6th day of July 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.

                                           /s/ Charles L. Babcock
                                           Charles L. Babcock




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